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                                                                                J. Derek Kantaskas
                                                                                Kantaskas Law PA
                                                                          derek@kantaskaslaw.com
                                           July 24, 2024
The Honorable Steven L. Tiscione
United States District Court, EDNY
100 Federal Plaza, Courtroom 910
P.O. Box 914
Central Islip, New York 11722

Re: Ammann vs. Sharestates, Inc. and Allen Shayanfekr, Case No. 21-cv-2766 (JS) (SLT)

Dear Judge Tiscione:
       We represent Plaintiff Steven Ammann.

        On July 19, 2024, after an extension, Defendants finally filed their opposition to Plaintiff’s
pending fee application for Rule 11 sanctions. Pursuant to the Court’s Order setting the briefing
schedule entered on June 24, 2024 [ECF No. 126], Plaintiff is permitted to file reply papers no
later than seven (7) days after Defendants’ response, which is July 26, 2024.

        Plaintiff learned new information through Defendants’ recent filings, including but not
limited to, Sharestates is a company in both a staffing and financial free-fall, as well as the fact
that Allen Shayanfekr does not exercise any meaningful control over Sharestates (as has long-been
suspected but just now admitted by the Defendants). Accordingly, based on these new admissions,
Plaintiff respectfully seeks an extension to file his reply papers to Defendants’ opposition to the
pending fee application by no later than Wednesday, July 31, 2024.

       Plaintiff’s request is not for the purpose of delay, and we thank the Court for its
consideration.

                                                      Respectfully submitted,

                                                      /s/ J. Derek Kantaskas
                                                      J. Derek Kantaskas
                                                      Kantaskas Law PA
                                                      Counsel for Plaintiff
